                       Case 21-60086 Document 1-7 Filed in TXSB on 11/01/21 Page 1 of 1


        Neutral Posture, Inc.
        Income Statement ‐ 2021


                                                 January        February      March         April              May              June             July              August         Total
        Sales & Other Income:
  400   Gross Sales ‐ Seating/Acces                 $400,701       $314,611     $429,681        $419,400             $358,664      $504,035             $367,691      $497,098            $3,291,880
  401   Gross Sales ‐ Systems                       $105,023       $358,503     $282,655         $33,278             $125,932      $180,846             $243,516       $64,835            $1,394,588
  415   Freight Charged Customer                       $9,657        $7,737      $10,440         $12,267               $4,898       $14,742              $10,611        $5,067               $75,420
  417   Fuel Surcharge                                     $0            $0           $0              $0                   $0            $0                   $0            $0                    $0
  418   Teaming Admin Fee                                  $0            $0           $0              $0                   $0            $0                   $0            $0                    $0
  419   Teaming Revenue                                    $0            $0      $38,424              $0                   $0            $0                   $0            $0               $38,424
  420   Other Income (Expense)                      $624,595         $2,720        $460           $1,930                $730        $19,109               $2,700        $1,312             $653,555
           Net Sales                               $1,139,975      $683,572     $761,660        $466,875             $490,224      $718,731             $624,519      $568,311            $5,453,867

DM%     Cost of Sales:                                     $0            $0           $0              $1                   $0            $1                   $0            $1                    $1
  500   Direct Material ‐ Seating/Acces              $175,800      $144,211     $143,330        $213,555             $170,936      $316,939             $179,610      $260,757            $1,605,137
  501   Direct material ‐ Systems                     $71,105      $152,553     $127,850         $24,398              $67,374       $67,805              $73,703       $50,372             $635,160
  505   Freight Out                                   $58,652       $55,842      $90,392         $58,731              $57,542       $49,438              $73,886       $58,258             $502,741
  510   Freight In                                    $11,895        $8,901      $23,931         $33,095              $39,625        $7,363              $11,550       $31,930             $168,290
  513   Installation Expense                          $10,610        $9,083      $13,494         $14,706              $13,611       $12,340              $10,790      ‐$70,584               $14,051
  515   Labor & Related                               $92,035      $109,131     $115,097         $99,433             $103,814       $83,544              $96,845      $107,532             $807,431
  520   401‐K Expense                                      $0            $0           $0              $0                   $0            $0                   $0            $0                    $0
  525   HSA Contributions ‐ Actual Medical                 $0            $0           $0              $0                   $0            $0                   $0            $0                    $0
  530   Bonus Expense                                      $0            $0           $0              $0                   $0            $0                   $0            $0                    $0
  535   Depreciation & Amortization                   $22,736       $22,736      $22,594         $22,567              $22,537       $22,626              $22,611       $25,063             $183,470
  540   Warranty Expense                               $6,877        $5,589       $3,236          $3,087               $1,860        $5,418               $2,759        $1,489               $30,315
  545   Research & Development                         $2,760            $0      $15,132          $3,649                $278          $101                   $39         $561                $22,520
  550   Insurance                                      $9,055        $3,549       $1,334         $29,027              $17,418       ‐$3,611              $12,586       $11,517               $80,875
  555   Supplies                                      $13,544        $6,400       $2,757          $8,853               $5,036         $421                $3,643        $6,727               $47,382
  560   Scrap/Obsolete Inv.                            $2,885        $5,569        $590            $108                 $101            $24                $235          $681                $10,192
  564   Teaming COGS                                       $0            $0           $0              $0                   $0      ‐$56,556                   $0        $1,012              ‐$55,544
  565   Other COS                                     $14,323        $8,635       $9,337         $12,872               $8,844        $6,716               $7,244        $3,439               $71,411
           Total Cost of Sales                       $492,279      $532,198     $569,071        $524,079             $508,976      $512,570             $495,500      $488,756            $4,123,430

        Gross Profit                                 $647,696      $151,373     $192,589            ‐$57,204         ‐$18,753      $206,162             $129,018        $79,556           $1,330,437
GP%                                                        $0            $0           $0                  $0               $0            $0                   $0             $0                   $0
        Selling General & Admin:
  600   Wages & Related                               $57,901       $69,494      $64,004          $73,059          $71,157          $67,379              $74,161        $74,865             $552,019
  605   401‐K Expense                                      $0            $0           $0               $0               $0               $0                   $0             $0                   $0
  610   HSA Contributions ‐ Actual Medical                 $0            $0           $0               $0               $0               $0                   $0             $0                   $0
  615   Bonus Expense                                      $0            $0           $0               $0               $0               $0                   $0             $0                   $0
  620   Depreciation & Amortization                    $8,319        $8,319       $8,307           $8,305           $8,302           $8,310               $8,308         $8,152              $66,321
  625   Internal M&E                                      $67         $453           $21               $0               $0               $0                   $0          $197                 $738
  630   Business Travel                                  ‐$52         $145        $4,914              $29               $7              $40               $4,450         $2,831              $12,364
  635   Marketing/Advertising                          $1,519        $1,330       $2,386           $1,998           $1,694           $1,681               $1,694         $1,658              $13,960
  640   Commissions                                   $36,354       $48,041      $58,460          $33,291          $31,394          $69,509              $53,591        $40,538             $371,178
  645   Conventions                                        $0            $0           $0            $636                $0               $0                $130              $0                $766
  650   Showrooms                                          $0            $0           $0               $0               $0               $0                   $0             $0                   $0
  655   Spiffs                                         $2,148         $855        $1,195           $1,583           $7,330            $815                $1,900        ‐$2,875              $12,951
  660   Novation & Dealer Rebates‐Fees                  $741         $6,421       $3,070           $1,675               $0            $158                $2,061            $10              $14,136
  665   Other Sales Expense                            $2,245        $1,510        ‐$186           $1,592           $1,257           $1,466               $2,384         $1,434              $11,702
  670   Samples/Evals                                  $1,477        $4,185       $9,028           $4,211           $1,460           $7,755              ‐$4,949             $0              $23,167
  680   Bad Debt Expense                                   $0            $0           $0               $0               $0               $0                   $0             $0                   $0
  685   Dues, Subscriptions & Licenses                  $691          $662          $495           $1,708            $746             $546                $4,399         $1,471              $10,720
  690   Professional & Legal Fees                      $2,084        $4,787         $459           $7,709          ‐$5,888          $15,316              $11,144        $11,256              $46,867
  695   Accounting Fees                                 $500          $500          $500           $2,000           $2,500           $2,500               $5,000         $3,000              $16,500
  700   Consulting Fees                               $10,566         $602       $12,966           $9,526           $6,133           $5,664               $7,821         $7,150              $60,428
  705   Communication & Utilities                      $7,998        $6,499       $4,478           $7,685           $4,028           $5,773               $7,356         $6,004              $49,820
  715   Office Expenses                               $14,095        $9,144      $10,921          $10,743           $9,100           $9,196               $5,842         $8,471              $77,513
  720   Charitable Contributions                           $0        $1,710         $132            $181             $339                $0               $1,233             $0               $3,596
  725   Insurance                                      $3,330        $1,331         $737           $9,676           $4,260            $183                $4,494         $4,132              $28,143
  730   Property Taxes                                 $8,000        $8,000       $8,000           $8,000           $9,682           $8,000               $8,000         $8,000              $65,682
  740   Financial Fees                                 $3,409        $4,046       $6,545           $4,454           $3,642           $4,327                $889          $3,423              $30,735
  745   Other SG&A                                    $18,784        $3,963       $4,095           $4,868           $1,253           $2,390                $706          $2,611              $38,669
           Total SG&A                                $180,179      $181,996     $200,527         $192,930         $158,395         $211,008             $200,614       $182,328           $1,507,976
SGA%                                                       $0            $0           $0               $0               $0               $0                   $0             $0                   $0
        Net Operating Inc(Loss)                      $467,518      ‐$30,622      ‐$7,938        ‐$250,134        ‐$177,148          ‐$4,846             ‐$71,595      ‐$102,773            ‐$177,539
NOI%                                                       $0            $0           $0              ‐$1               $0               $0                   $0             $0                   $0

        Other Income(Expense):
  800   Interest Income                                    $0            $0            $0                 $0               $0               $0                $0             $0                   $0
  805   Gain/(Loss) on Sale of Asset                       $0            $0            $0                 $0               $0               $0                $0             $0                   $0
  810   Misc. Income (Expense)                        $19,418           $28            $0                 $0               $0               $0                $0             $0              $19,446
  815   Translation Gain/Loss                              $0            $0            $0                ‐$6              ‐$8              ‐$3                $2            ‐$2                 ‐$16
  820   Interest Expenses                            ‐$12,433      ‐$12,790       ‐$8,335            ‐$8,537          ‐$8,247          ‐$8,182           ‐$8,433        ‐$9,048             ‐$76,006
           Total Other Inc(Exp)                        $6,985      ‐$12,762       ‐$8,335            ‐$8,543          ‐$8,255          ‐$8,185           ‐$8,431        ‐$9,050             ‐$56,576

        Income(Loss) before Tax                      $474,503      ‐$43,384      ‐$16,273       ‐$258,678        ‐$185,402         ‐$13,031             ‐$80,026      ‐$111,823           ‐$234,114

        Add back Depreciation and Amortization        $31,056       $31,056      $30,901            $30,872           $30,838          $30,935           $30,919        $33,214            $249,791

        real income                                                                                                                                                                         $15,676
